Case 3:10-cv-00940-GPC-WVG Document 186-2 Filed 12/20/12 PageID.15883 Page 1 of 2



   1   MAKAEFF v. TRUMP UNIVERSITY, LLC, et al.
       USDC Case No. 10 CV 0940 CAB (WVG)
   2
                                             PROOF OF SERVICE
   3

   4

   5          I am employed in the City and County of San Diego, State of California. I am over the age
   6   of 18 and not a party to the within action. My business address is 655 West Broadway, Suite 1400,
   7   San Diego, California 92101.
   8          On December 20, 2012, I caused to be served the attached:
   9          1.     DEFENDANTS’ OPPOSITION TO PLAINTIFFS’ EX PARTE APPLICATION TO
  10   EXTEND THEIR BRIEFING SCHEDULE AND EXTEND THEIR PAGE LIMIT; and
  11          2.     DECLARATION OF DAVID K. SCHNEIDER IN OPPOSITION TO PLAINTIFFS’
  12   EX PARTE APPLICATION TO EXTEND THEIR BRIEFING SCHEDULE AND EXTEND
  13   THEIR PAGE LIMIT
  14                [BY ELECTRONIC MAIL] Pursuant to the Court’s CM/ECF Electronic Filing
  15                 policies and procedures, I hereby certify that the above documents were electronically
  16                 filed with the court using the CM/ECF system which will send notification of such
  17                 filing to the email addresses denoted on the Electronic Mail Notice List.
  18                [BY MAIL] I placed each such sealed envelope, with postage thereon fully prepaid
  19                 for first-class mail, for collection and mailing at Yunker & Schneider, San Diego,
  20                 California, following ordinary business practices. I am familiar with the practice of
  21                 Yunker & Schneider for collection and processing of correspondence, said practice
  22                 being that in the ordinary course of business, correspondence is deposited in the
  23                 United States Postal Service the same day as it is placed for collection.
  24

  25

  26
  27

  28

                                                         1
                                               PROOF OF SERVICE
Case 3:10-cv-00940-GPC-WVG Document 186-2 Filed 12/20/12 PageID.15884 Page 2 of 2



   1   Amber L. Eck, Esq.                                    Rachel L. Jensen, Esq.
       Aaron M. Olsen, Esq.                                  Thomas R. Merrick, Esq.
   2   ZELDES & HAEGGQUIST, LLP                              ROBBINS GELLER RUDMAN & DOWD, LLP
       625 Broadway, Suite 906                               655 West Broadway, Suite 1900
   3   San Diego, CA 92101                                   San Diego, CA 92101
       Tel: (619) 342-8000                                   Tel: (619) 231-1058
   4   Fax: (619) 342-7878                                   Fax: (619) 231-7423

   5   Attorneys for Plaintiffs TARLA MAKAEFF,               Attorneys for Plaintiffs TARLA MAKAEFF,
       BRANDON KELLER, ED OBERKROM,                          BRANDON KELLER, ED OBERKROM,
   6   SONNY LOW, J.R. EVERETT and JOHN                      SONNY LOW, J.R. EVERETT and JOHN
       BROWN                                                 BROWN
   7
              I declare that I am employed in the office of a member of the bar of this court at whose
   8
       direction the service was made.
   9
       Executed on December 20, 2012, at San Diego, California.
  10

  11

  12                                                         Emily Bigelow
  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26
  27

  28

                                                         2
                                               PROOF OF SERVICE
